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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 SAN ANTONIO FIRE AND POLICE
 PENSION FUND, FIRE AND POLICE
 HEALTH CARE FUND, SAN ANTONIO,
                                                          Civil Action No. 1: 15-cv-1140-LPS
 PROXIMA CAPITAL MASTER FUND LTD.,
 and THE ARBITRAGE FUND,

                       Plaintiffs,

                v.

 DOLE FOOD COMPANY, INC., DAVID H.
 MURDOCK and C. MICHAEL CARTER,

                       Defendants.

                        [P        ORDER AP     ING
                PLAN OF ALLOCATION OF NET SETTLEMENT FUND

       This matter came on for'hearing on July 18, 2017 (the "Settlement Hearing") on Lead

Plaintiffs' motion to determine whether the proposed plan of allocation of the Net Settlement Fund

("Plan of Allocation") created by the   S~ttlement   achieved in the above-captioned class action (the

"Action") should be approved. The Court having considered all matters submitted to it at the

Settlement Hearing and otherwise; and it appearing that notice of the Settlement Hearing

substantially in the form approved by the Court was mailed to all Settlement Class Members who or

which could be identified with reasonable effort, and that a summary notice of the hearing

substantially in the form approved by the Court was published in The Wall Street Journal and was

transmitted over the PR Newswire pursuant to the specifications of the Court; and the Court having

considered and determined the fairness and reasonableness of the proposed Plan of Allocation,

       NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

       l ._   This Order approving the proposed Plan of Allocation incorporates by reference the

definitions in the Amended Stipulation and Agreement of Settlement dated March 29, 2017 (D .I.
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88-1) (the "Stipulation") and all capitalized terms not otherwise defined herein shall have the same

meanings as· set forth in the Stipulation.

       2.      The Court has jurisdiction to enter this Order approving the proposed Plan of

Allocation, and over the subject matter of the Action and all parties to the Action, including all

Settlement Class Members.

       3.      Notice of Lead Plaintiffs' motion for approval of the proposed Plan of Allocation was

given to all Settlement Class Members who could be identified withreasonable effort. The form and

method of notifying the Settlement Class of the motion for approval of the proposed Plan of

Allocation satisfied the requirements of Rule 23 of the Federal Rules of Civil Procedure, the Private

Securities Litigation Reform Act of 1995 (15 U.S.C. § 78u-4(a)(7)), due process, and all other

applicable law and rules, constituted the best notice practicable under the circumstances, and

constituted due and sufficient notice to all persons and entities entitled thereto.

       4.      Copies of the Notice, which included the Plan of Allocation, were mailed to over

28,000 potential Settlement Class Members and nominees, and no objections to the Plan of

Allocation have been received.

       5.      The Court hereby finds and concludes that the formula for the calculation of the

claims of Claimants as set forth in the Plan of Allocation provides a fair and reasonable basis upon

which to allocate the proceeds of the Net Settlement Fund among Settlement Class Members with

due consideration having been given to administrative convenience and necessity, and that the Plan

of Allocation is, in all respects, fair and reasonable to the Settlement Class.




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        6.      There is no just reason for delay in the entry of this Order, and immediate entry by the




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Clerk of the Court is expressly dir;;J;,ect_e_d_.        ~
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       SO ORDERED                           day of                     '2017.




                                                             Chief United States District Judge




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